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                                                                                  2023 Sep-29 PM 04:29
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


                   UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION


BRYAN KIRKLAND,                         )
an individual,                          )
                                        )
       PLAINTIFF,                       )
                                        )
v.                                      ) Case No.
                                        )
SIXTH AVENUE CENTER,                    )
LLC,                                    )
a limited liability company,            )
                                        )
           DEFENDANT.                   )


                                   COMPLAINT

       Plaintiff BRYAN KIRKLAND (“KIRKLAND” or “Plaintiff”) hereby sues

Defendant, SIXTH AVENUE CENTER, LLC, a limited liability company,

(hereinafter “Defendant”) pursuant to the Americans with Disabilities Act, 42 U.S.C.

§ 12181 et seq. (“ADA”), and its implementing regulations, the ADA’s Accessibility

Guidelines, 28 C.F.R. Part 36 (“ADAAG”) and alleges as follows:

                         PRELIMINARY STATEMENT

      1.     Though not required by the ADA, Plaintiff attempted to resolve this

matter prior to filing the present complaint but was unable to do so.

      2.     Defendant’s ADA violations create real and significant barriers to

entry for disabled persons such as Plaintiff. Pursuant to Title III of the ADA,

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Plaintiff seeks declaratory and injunctive relief requiring Defendant to (1) remedy

the violations identified herein and (2) enact and adhere to a policy that ensures the

proper maintenance of the property to avoid future ADA violations.

                           JURISDICTION AND PARTIES

       3.       This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the action

pursuant to 28 U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C.

§ 12181 et seq., based upon Defendant’s, SIXTH AVENUE CENTER, LLC’s,

failure to remove physical barriers to access and violations of Title III of the ADA.

       4.       Venue is properly located in the NORTHERN DISTRICT OF

ALABAMA IN THE SOUTHERN DIVISION pursuant to 28 U.S.C. § 1391(b)

because venue lies in the judicial district of the property situs or the judicial district

in which a substantial part of the events or omissions giving rise to Plaintiff’s claims

occurred. The Defendant’s property is located in and does business within this

judicial district and all events giving rise to this lawsuit occurred in this judicial

district.

       5.       Plaintiff, BRYAN KIRKLAND, is and has been at all times relevant to

the instant matter, a natural person residing in Alabama and is sui juris.

       6.       Plaintiff is an individual with disabilities as defined by the ADA.




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       7.       Plaintiff is substantially limited in performing one or more major life

activities, including but not limited to: walking and standing.

       8.       Plaintiff uses a wheelchair for mobility purposes.

       9.       Defendant, SIXTH AVENUE CENTER, LLC, is a limited liability

company conducting business in the State of Alabama and within this judicial

district.

                             FACTUAL ALLEGATIONS

       10.      On or about November of 2022, Plaintiff was a customer at the Metro

T-Mobile Store and Gas Station located at 74 6th Ave S Ste 101, Birmingham, AL

35205 (“Subject Facility”, “Subject Property”).

       11.      SIXTH AVENUE CENTER, LLC is the owner, lessor, and/or

operator/lessee of the real property and improvements that are the subject of this

action, specifically the Metro T-Mobile Store and Gas Station and its attendant

facilities, including vehicular parking and common exterior paths of travel within

the site identified by the Jefferson County Assessor parcel identification number 29

00 02 3 024 023.000 (“Subject Facility”, “Subject Property”).

       12.      Plaintiff lives within thirty (30) miles of the Subject Property. Because

the Subject Property is located on 6th Ave SW, a Jefferson County thoroughfare that

he frequents routinely, he is routinely where the Subject Property is located and




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travels in and about the immediate area of the Subject Property numerous times

every month, if not every week.

      13.    While traveling in the area, Plaintiff routinely stops to patronize various

gas stations, convenience stores, and retail stores along his routine route of travel

around his home to purchase gasoline, use the bathroom, purchase convenience

items, and also purchase general goods and services of the type that would be

purchased by any other person in their daily life.

      14.    Plaintiff’s patronage of various businesses around his home is central

to his daily life like it would be for any other person in their daily life.

      15.    Plaintiff   intends    to   continue    patronizing    places     of   public

accommodation in the general vicinity of his home, as every person in this country

has the right to do.

      16.    Plaintiff’s access to the Subject Property and/or full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant, SIXTH AVENUE CENTER, LLC, is compelled to remove the physical

barriers to access and correct the ADA violations that exist at the Subject Property,

including those set forth in this Complaint.




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      17.    Plaintiff has visited, i.e. patronized or attempted to patronize, the

Subject Property on multiple prior occasions. Plaintiff intends on revisiting the

Subject Property within six months of the filing of this Complaint or sooner, as soon

as the barriers to access detailed in this Complaint are removed. The purpose of the

revisit is to be a regular patron (i.e. purchase gasoline, use the bathroom, purchase

convenience items, and also purchase general goods and services of the type that

would be purchased by any other person in their daily life), and to determine if and

when the Subject Property is made accessible.

      18.    Plaintiff intends on revisiting the Subject Property to enjoy the same

experiences, goods, and services available to Defendant’s non-disabled patron, but

does not intend to continue to repeatedly re-expose himself to the ongoing barriers

to equal access and engage in the futile gesture of attempting to patronize the Subject

Property, a business of public accommodation known to Plaintiff to have numerous

and continuing barriers to equal access for wheelchair users.

      19.    Plaintiff recently traveled to the Subject Property as a patron,

encountered and/or observed the barriers to access that are detailed in this

Complaint, engaged those barriers where physically possible, suffered legal harm

and legal injury, and will continue to suffer such harm and injury as a result of the

illegal barriers to equal access present at the Subject Property.




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      20.   Plaintiff has a fundamental right as established under the ADA to

patronize any place of public accommodation as any person who is not disabled has.

      21.   Plaintiff’s day-to-day life has been negatively affected by the barriers

to entry at the Subject Property, as his fundamental right to patronize any place of

public accommodation at his choosing has been diminished by Defendant’s non-

compliance with the ADA.

      22.   Plaintiff has no obligation to only patronize places of public

accommodation that are ADA compliant.

      23.   If barriers to entry are not removed at the Subject Property, it will place

undue hardship, cause Plaintiff loss of opportunity, and unduly force Plaintiff to

“search” for a place of public accommodation to patronize that is ADA compliant.



               COUNT I – CLAIM FOR INJUNCTIVE RELIEF
                  (Against Defendant for ADA Violations)

      24.   The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993, if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      25.   The Subject Property is a public accommodation and service

establishment.




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      26.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      27.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      28.    The Subject Property must be, but is not, in compliance with the ADA

and the ADAAG.

      29.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subject Property in his capacity as a patron at the Subject Property, but could not

fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Subject Property that

preclude and/or limit his access to the Subject Property and/or the goods, services,

facilities, privileges, advantages and/or accommodations offered therein, including

those barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      30.    Plaintiff intends to visit the Subject Property again in the very near

future as a patron, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered to able-bodied patrons of

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the Subject Property but will be unable to fully do so because of his disability and

the physical barriers to access, dangerous conditions and ADA violations that exist

at the Subject Property that preclude and/or limit his access to the Subject Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations

offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

      31.       Defendant, SIXTH AVENUE CENTER, LLC, has discriminated

against Plaintiff (and others with disabilities) by denying his access to, and full and

equal enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations of the Subject Property, as prohibited by, and by failing to remove

architectural barriers as required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      32.       Defendant, SIXTH AVENUE CENTER, LLC, will continue to

discriminate against Plaintiff and others with disabilities unless and until SIXTH

AVENUE CENTER, LLC is compelled to remove all physical barriers that exist at

the Subject Property, including those specifically set forth herein, and make the

Subject Property accessible to and usable by Plaintiff and other persons with

disabilities.

      33.       A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and the full and equal enjoyment

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of the goods, services, facilities, privileges, advantages and accommodations of the

Subject Property include, but are not limited to:


                       ACCESSIBLE ROUTES/PARKING
                                (Exterior)

            a. There is no van-accessible parking present in violation
               of Section 4.6 of the 1991 ADAAG and Section 502 of
               the 2010 ADAAG. These violations made it dangerous
               for Plaintiff to utilize the parking facility at the Subject
               Property and caused Plaintiff loss of opportunity.

            b. The van-accessible parking spaces are too narrow in
               violation of Section 4.6 of the 1991 ADAAG and
               Section 502 of the 2010 ADAAG. These violations
               made it dangerous for Plaintiff to utilize the parking
               facility at the Subject Property and caused Plaintiff loss
               of opportunity.

            c. The paint delineating the designated accessible parking
               space and access aisle is not being maintained so that it
               clearly marks the accessible parking location in
               violation of 28 CFR § 36.211, Section 4.6 of the 1991
               ADAAG, and Section 502.3.3 of the 2010 ADAAG.
               These violations made it dangerous for Plaintiff to
               utilize the parking facility at the Subject Property and
               caused Plaintiff loss of opportunity.

            d. The visible upright signage (displaying the
               International Symbol of Accessibility) designating
               parking space as accessible is mounted too low in
               violation of Section 4.6 of the 1991 ADAAG and
               Section 502 of the 2010 ADAAG. These violations
               made it dangerous for Plaintiff to utilize the parking


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       facility at the Subject Property and caused Plaintiff loss
       of opportunity.

    e. The access aisle adjacent to the designated accessible
       space has a curb ramp projecting into it and/or has
       surfaces which are otherwise not level in all directions
       in violation of 28 CFR § 36.211, Section 4.6.3 of the
       1991 ADAAG and Section 502.4 of the 2010 ADAAG.
       These violations made it dangerous for Plaintiff to
       utilize the parking facility at the Subject Property and
       caused Plaintiff loss of opportunity.

    f. The ramp to the accessible entrance (the only means of
       access to wheelchair users) has a run which exceeds the
       maximum slope requirement (8.33%) set forth in
       Section 4.7.2 of the 1991 ADAAG and Section 406.1
       of the 2010 ADAAG. These violations made it
       dangerous for Plaintiff to utilize the parking facility at
       the Subject Property and caused Plaintiff loss of
       opportunity.

    g. There is no accessible route provided within the site
       from the public sidewalk which serves the Subject
       Facility. Violation: There is no accessible route
       connecting the public sidewalk serving the subject
       facility and any accessible entrance(s) in violation of
       Section 4.3.2 of the 1991 ADAAG and Section 206.2.1
       of the 2010 ADAAG. These violations made it
       dangerous for Plaintiff to utilize the parking facility at
       the Subject Property and caused Plaintiff loss of
       opportunity.

    h. The accessible route along the storefront curb at the
       Subject Facility was obstructed by vehicles parked in
       spaces abutting the accessible route because no parking
       stops are provided at said parking spaces. This allows
       parked vehicle overhangs to reduce the width of the
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       path of travel to less than 36 inches wide for more than
       24 linear inches in violation of Section 4.3 of the 1991
       ADAAG and Section 403.5.1 of the 2010 ADAAG.
       These violations made it dangerous for Plaintiff to
       utilize the parking facility at the Subject Property and
       caused Plaintiff loss of opportunity.

    i. The accessible entrance does not provide the minimum
       requisite level maneuvering clearance for a forward
       approach to the pull side of the designated accessible
       entry door in violation of Section 4.13.6 of the 1991
       ADAAG and Section 404.2.4 of the 2010 ADAAG.
       These violations made it dangerous for Plaintiff to
       utilize the parking facility at the Subject Property and
       caused Plaintiff loss of opportunity.


                   MAINTENANCE PRACTICES

    j. Defendant has a practice of failing to maintain the
       accessible features of the facility, creating barriers to
       access for the Plaintiff, as set forth herein, in violation
       of 28 CFR § 36.211. This practice prevented access to
       the plaintiff equal to that of Defendant’s able-bodied
       customers causing Plaintiff loss of opportunity.

    k. Defendant has a practice of failing to maintain the
       accessible elements at the Subject Facility by
       neglecting its continuing duty to review, inspect, and
       discover transient accessible elements which by the
       nature of their design or placement, frequency of usage,
       exposure to weather and/or other factors, are prone to
       shift from compliant to noncompliant so that said
       elements may be discovered and remediated.
       Defendant failed and continues to fail to alter its
       inadequate maintenance practices to prevent future
       recurrence of noncompliance with dynamic accessible

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                elements at the Subject Facility in violation of 28 CFR
                § 36.211, the 1991 ADAAG, and the 2010 ADAAG.
                These violations, as set forth hereinabove, made it
                impossible for Plaintiff to experience the same access
                to the goods, services, facilities, privileges, advantages
                and accommodations of the Subject Facility as
                Defendant’s able-bodied patrons and caused Plaintiff
                loss of opportunity.

             l. Defendant has failed to modify its discriminatory
                maintenance practices to ensure that, pursuant to its
                continuing duty under the ADA, the Subject Property
                remains readily accessible to and usable by disabled
                individuals, including Plaintiff, as set forth herein, in
                violation of 28 CFR § 36.302 and 36.211. This failure
                by Defendant prevented access to the plaintiff equal to
                that of Defendant’s able-bodied customers causing
                Plaintiff loss of opportunity.

      34.    The discriminatory violations described above are not an exhaustive list

of the Defendant’s current barriers to equal access and violations of the ADA

because Plaintiff was unable to access and assess all areas of the subject premises

due to the architectural barriers encountered. A complete list of the subject location’s

ADA violations affecting the Plaintiff as a wheelchair user, and the remedial

measures necessary to remove same, will require an on-site inspection by Plaintiff’s

representatives pursuant to Federal Rule of Civil Procedure 34. Once the Plaintiff

personally encounters discrimination, as alleged above, or learns of discriminatory

violations through expert findings of personal observation, he has actual notice that

the defendant does not intend to comply with the ADA.
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      35.    The Defendant has a practice of failing to maintain the accessible

elements at the Subject Property by neglecting its continuing duty to review, inspect,

and discover transient accessible elements which by the nature of its design or

placement, frequency of usage, exposure to weather and/or other factors, are prone

to shift from compliant to noncompliant, so that said elements are discovered and

remediated. Defendant failed and continues to fail to alter its inadequate

maintenance practices to prevent future recurrence of noncompliance with dynamic

accessible elements at the Subject Property in violation of 28 CFR §§ 36.202 and

36.211. These violations, as referenced hereinabove, made it impossible for Plaintiff,

as a wheelchair user, to experience the same access to the goods, services, facilities,

privileges, advantages and accommodations of the Subject Property as Defendant’s

able-bodied patrons.

      36.    Accessible elements at the Subject Property have been altered and/or

constructed since 2010.

      37.    The foregoing violations are violations of the 1991 ADAAG, and the

2010 ADAAG, as adopted by the U.S. Department of Justice. In instances where the

2010 ADAAG standards do not apply, the 1991 ADAAG standards apply, and all of

the alleged violations set forth herein can be modified to comply with the 1991

ADAAG standards.

      38.    The removal of the physical barriers, dangerous conditions and ADA

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violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      39.    Each of the violations alleged herein is readily achievable to modify to

bring the Subject Property into compliance with the ADA.

      40.    Removal of the physical barriers and dangerous conditions present at

the Subject Property is readily achievable because of the site conditions at the

Subject Property, the structural design of the subject facility, and the straightforward

nature of the necessary modifications.

      41.    To assist businesses in offsetting the costs associated with complying

with the ADA and removing barriers to access for individuals with disabilities,

Section 44 of the IRS Code provides a tax credit for small business owners, and

Section 190 of the IRS Code provides a tax deduction for all business owners,

including the Defendant.

      42.    Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable because of the relative low cost of the

necessary modifications and the Defendant has the financial resources to make the

modifications, including the financial assistance made available to Defendant by the

government pursuant to Section 44 and/or Section 190 of the IRS Code.

      43.    By continuing to maintain and/or operate the Subject Property with

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discriminatory conditions in violation of the ADA, Defendant contributes to

Plaintiff’s sense of isolation and segregation and deprives Plaintiff of the full and

equal enjoyment of the goods, services, facilities, privileges, and accommodations

available to able bodied individuals of the general public.

      44.    Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 CFR

36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the

maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facilities were designed

and constructed for first occupancy subsequent to January 26, 1993, as defined in 28

CFR 36.401, then the Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      45.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant, SIXTH AVENUE CENTER, LLC, is required to remove

the physical barriers, dangerous conditions and ADA violations that exist at the

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Subject Property, including those alleged herein. Considering the balance of

hardships between the Plaintiff and Defendant, a remedy in equity is warranted.

       46.    Plaintiff’s requested relief serves the public interest.

       47.    Plaintiff’s counsel is entitled to recover his reasonable attorneys’ fees

and costs of litigation from Defendant, SIXTH AVENUE CENTER, LLC, pursuant

to 42 U.S.C. §§ 12188, 12205 and 28 CFR 36.505. Plaintiff will be denied full and

equal access to the subject premises, as provided by the ADA unless the injunctive

relief requested herein is granted.

       48.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including an Order to alter the subject facilities to

make them readily accessible to, and useable by, individuals with disabilities to the

extent required by the ADA, and closing the subject facilities until the requisite

modifications are completed, and ordering Defendant to fulfill its continuing duty to

maintain the accessible features at the premises in the future as mandated by 28 CFR

36.211.

       WHEREFORE, the Plaintiff prays as follows:

       A.     That the Court find Defendant, SIXTH AVENUE
              CENTER, LLC, in violation of the ADA and ADAAG;

       B.     That the Court enter an Order requiring Defendant, SIXTH
              AVENUE CENTER, LLC, to (i) remove the physical
              barriers to access and (ii) alter the Subject Property to
              make the Subject Property readily accessible to and
              useable by individuals with disabilities to the full extent
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           required by Title III of the ADA; within 120 days of
           judgment or a reasonable time period established by the
           Court;

     C.    That the Court enter an Order directing Defendant,
           pursuant to 28 C.F.R. §36.211, to fulfill its continuing duty
           to maintain its accessible features and equipment so that
           the facility remains accessible to and useable by
           individuals with disabilities to the full extent required by
           Title III of the ADA;

     D.    That the Court enter an Order directing Defendant to
           implement and carry out effective policies, practices, and
           procedures to maintain the accessible features and
           equipment pursuant to 28 C.F.R. §36.302 and 28 C.F.R.
           §36.211.

     E.    That the Court enter an Order directing Defendant to
           evaluate and neutralize its policies and procedures towards
           persons with disabilities for such reasonable time so as to
           allow them to undertake and complete corrective
           procedures;

     F.    An award of attorneys’ fees, costs (including expert fees),
           and litigation expenses pursuant to 42 U.S.C. § 12205 and
           an award of monitoring fees associated with insuring that
           the Defendant is in compliance with the ADA.

     G.    An award of interest upon the original sums of said award
           of attorney’s fees, costs (including expert fees), and other
           expenses of suit; and

     H.    Such other relief as the Court deems just and proper,
           and/or is allowable under Title III of the Americans with
           Disabilities Act.

Dated this the _____ day of _____________________, 2023.



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                                 Respectfully submitted,

                                 /s/ Lawrence B. Hammet II
                                 Lawrence B. Hammet, II Esq.
                                 Truxton Trust Building
                                 4525 Harding Pike, Ste. 200
                                 Nashville, TN 37205
                                 Counsel for Plaintiff
                                 Alabama State Bar No.: 7599M60L


DEFENDANT TO BE SERVED:
SIXTH AVENUE CENTER, LLC
C/O RAY MCLEOD
215 DISTRIBUTION DR
BIRMINGHAM, AL 35209




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